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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                           )
IN RE: PHILIPS RECALLED CPAP,              )
BI-LEVEL PAP, AND MECHANICAL               )
VENTILATOR PRODUCTS                        )         Master Docket: Misc. No. 21-1230
LITIGATION                                 )
                                           )
                                           )         MDL No. 3014
This Document Relates to: All Actions      )
Asserting Claims for Medical Monitoring    )
                                           )
                                           )
                                           )

   ORDER GRANTING FINAL APPROVAL OF CLASS SETTLEMENT AGREEMENT
    AND RELEASE OF MEDICAL MONITORING CLAIMS, FINAL JUDGMENT,
                INJUNCTION AND ORDER OF DISMISSAL

         AND NOW this 5th day of December, 2024, upon consideration of the Settlement Class

Representatives’ Motion for Final Approval of Class Settlement Agreement and Release of

Medical Monitoring Claims, and after dissemination of Notice to Settlement Class Members and

a Final Fairness Hearing held on October 30, 2024, it is hereby ORDERED, ADJUDGED AND

DECREED, AND FINAL JUDGMENT IS ENTERED, as follows:

        1.     The MDL Court has subject-matter jurisdiction over the above-captioned actions

and jurisdiction over all members of the Settlement Class, and Defendants Philips RS North

America LLC, Koninklijke Philips N.V., Philips North America LLC, Philips Holding USA, Inc.,

and Philips RS North America Holding Corporation (collectively, the “Philips Defendants”) have

submitted to the jurisdiction and venue of this MDL Court for purposes only of this Settlement

and the enforcement of the payment and performance obligations and injunctive relief thereunder.

        2.    All terms in initial capitalization used in this Final Judgment and Order shall have

the same meanings as set forth in the Settlement Agreement.

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        3.      On June 27, 2024, the MDL Court entered an Order in which it, inter alia,

preliminarily approved the Settlement, conditionally certified the Settlement Class under Fed. R.

Civ. P. 23(a) and (b)(2) for settlement purposes only, directed Notice to Settlement Class Members,

and approved the retention of BrownGreer PLC (“BrownGreer”) as Notice Administrator and QSF

Administrator, Wolf Global Compliance as Settlement Administrator, and Huntington National

Bank as Custodian Bank (ECF No. 2864).

        4.      On October 9, 2024, the Settlement Class Representatives filed a Motion for Final

 Approval of Class Settlement Agreement and Release of Medical Monitoring Claims and filed a

 brief in support of final approval and in response to the objections to the Settlement filed by certain

 Settlement Class Members.

        5.      On October 17, 2024, Settlement Class Counsel filed additional timely objections

 received after October 9, 2024, an amended brief in response to those objections, and amended

 objection charts (exhibits 3a and 3b to the brief).

        6.      On October 24, 2024, the Notice Administrator sent each objector by email or

 overnight mail the amended objection charts and notified them that the response to their objection

 is included in the brief, which may be found in the “Settlement Program Documents” section of

 the Settlement Website.

        7.      On October 30, 2024, the MDL Court held a Final Fairness Hearing to consider

 whether the Settlement should be finally approved under Rule 23(e)(2) as fair, reasonable, and

 adequate.

        8.      The MDL Court has reviewed the terms and conditions set forth in the Settlement

 Agreement, including all exhibits thereto, and finds that they are fair, reasonable, and adequate

 under Rule 23(e)(2) of the Federal Rules of Civil Procedure. The MDL Court finds that the

 Settlement is in full compliance with all applicable requirements of the Federal Rules of Civil
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Procedure, the Class Action Fairness Act, the United States Constitution (including the Due Process

Clause), and any other applicable law.

       9.      The MDL Court finds that the Settlement was negotiated at arm’s-length before the

MDL Court-appointed Settlement Mediator, Hon. Diane M. Welsh (Ret.); there was sufficient

formal and informal discovery; the Parties and counsel were knowledgeable about the facts

relevant to the Medical Monitoring Claims and the substantial risks, burdens, expense and delay of

continued litigation of the Medical Monitoring Claims; and the Parties were represented by highly

capable counsel with substantial experience in class action and products liability litigation.

       10.     The MDL Court also specifically considered the Girsh factors, including the

complexity, expense, and likely duration of litigation of the Medical Monitoring Claims; the

favorable reaction of the Settlement Class, as demonstrated by the low percentage of objections;

the stage of proceedings; the significant risks of establishing liability and class certification; and

the range of reasonableness of the Settlement in light of the best possible recovery and attendant

risks of litigation. Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975). The MDL Court finds that

these factors weigh in favor of approving the Settlement.

       11.     The MDL Court has carefully considered the objections to the Settlement filed by

certain Settlement Class Members, and hereby finds that none of those objections is meritorious.

       12.     The MDL Court finds that the dissemination of Notice as set forth in the

Declaration of Orran L. Brown, Sr. of BrownGreer (ECF No. 3003-1) was in compliance with the

MDL Court’s June 27, 2024 Preliminary Approval Order, and that notice satisfies Federal Rules

of Civil Procedure 23(c) and 23(e) and due process.

       13.     A full opportunity has been offered to Settlement Class Members to object to the

Settlement and to participate in the Final Fairness Hearing.

       14.     The Notice Administrator on behalf of the Philips Defendants properly and timely
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notified the appropriate officials of the Settlement pursuant to the Class Action Fairness Act

(“CAFA”), 28 U.S.C. § 1715. More than ninety (90) days have elapsed since the Philips

Defendants provided notice of the Settlement pursuant to CAFA. (ECF No. 3004-1).

       15.      Pursuant to Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, the MDL

Court grants final class certification, for settlement purposes only, of the Settlement Class that it

conditionally certified in its June 27, 2024 Preliminary Approval Order.

       16.      The MDL Court finds that the requirements of Rule 23 are satisfied, solely for the

purpose of effectuating the Settlement, as follows:

             a. Pursuant to Rule 23(a)(1), the MDL Court determines that the members of the

                Settlement Class are so numerous that their joinder before the MDL Court would

                be impracticable;

             b. Pursuant to Rule 23(a)(2), the MDL Court determines that there are questions of

                law and fact that are common to the Settlement Class;

             c. Pursuant to Rule 23(a)(3), the MDL Court determines that the Settlement Class

                Representatives’ claims are typical of the claims of the Settlement Class Members;

             d. Pursuant to Rule 23(a)(4), the MDL Court determines that Settlement Class

                Representatives and Settlement Class Counsel have fairly and adequately

                represented the interests of the Settlement Class and will continue to do so; and

             e. Pursuant to Rule 23(b)(2), the MDL Court determines that the Philips Defendants

                have acted or refused to act on grounds that apply generally to the class as a whole,

                so that final injunctive relief is appropriate respecting the class as a whole. Namely,

                the Philips Defendants are alleged to have designed, manufactured, sold,

                negligently failed to recall, and/or negligently executed the recall of the Recalled

                Devices, all of which contained PE-PUR foam that allegedly exposed all Settlement
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              Class Members to increased risks of injuries, and the proposed Medical

              Advancement Program Benefits will provide valuable tangible and intangible

              benefits to all Settlement Class Members through funding of medical research to

              investigate the detection, diagnosis, and/or treatment of injuries Settlement Class

              Members are allegedly at risk of sustaining from use of the Recalled Devices,

              thereby contributing to the advancement of public knowledge and education with

              respect to these injuries, and educate the Settlement Class on the existing testing

              and literature with respect to PE-PUR foam.

       17.    The MDL Court confirms the appointment of Elizabeth Lemus and Marilynn

Sweeney as Settlement Class Representatives. In the event an appointed Settlement Class

Representative is no longer able or willing to serve in that role, Settlement Class Counsel will

identify a suitable replacement and move the MDL Court for appointment of the replacement

Settlement Class Representative.

       18.    The MDL Court confirms the appointment of the following as Settlement Class

              Counsel:

              a. Christopher A. Seeger, Seeger Weiss, 55 Challenger Road, 6th Floor,

                  Ridgefield Park, NJ 07660;

              b. Sandra L. Duggan, Levin Sedran & Berman, 510 Walnut Street, Suite 500,

                  Philadelphia, PA 19106;

              c. Steven A. Schwartz, Chimicles Schwartz Kriner & Donaldson-Smith LLP, 361

                  West Lancaster Avenue, Haverford, PA 19041;

              d. Kelly K. Iverson, Lynch Carpenter, LLP, 1133 Penn Avenue, 5th Floor,

                  Pittsburgh, PA 15222; and

              e. Roberta D. Liebenberg, Fine, Kaplan and Black, R.P.C., One South Broad
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                  Street, 23rd Floor, Philadelphia, PA 19107.

In the event any Settlement Class Counsel is no longer able or willing to serve in that role,

the remaining Settlement Class Counsel may identify a suitable replacement and move the MDL

Court to appoint the replacement Settlement Class Counsel.

       19.    Accordingly, the MDL Court hereby grants the Settlement Class Representatives’

Motion for Final Approval of Class Settlement Agreement and Release of Medical Monitoring

Claims.

       20.    The MDL Court hereby dismisses the Medical Monitoring Complaint (ECF No.

815) and any other Medical Monitoring Claims as to all Released Parties, on the merits, with

prejudice and, except as explicitly provided for in the Settlement Agreement, without costs.

Specifically excluded from the Medical Monitoring Claims, and preserved, are:

              a. individual medical monitoring claims, as defined in the accompanying opinion;

              b. claims settled pursuant to the economic loss settlement;

              c. if the class member opted-out of the class action economic loss settlement,

                  claims for economic losses related to the Recalled Devices themselves; and,

              d. claims for personal injury.

       21.    The MDL Court finds and confirms that the Settlement Fund is a “Qualified

Settlement Fund” as defined in Section 1.468B-1 through 1.468B-5 of the Treasury Regulations.

       22.    The Settlement Administrator, in consultation with the Parties, shall be responsible

for the provision of Medical Advancement Program Benefits, as set forth in the Settlement

Agreement.

       23.    The Philips Defendants shall make all additional payments required by the

Settlement Agreement in the amounts and at the times set forth in the Settlement Agreement.

       24.     All Released Claims of the Settlement Class Members and the other Releasing
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Parties against Defendants and the other Released Parties are hereby fully, finally, irrevocably, and

forever released, remised, waived, relinquished, settled, dismissed, surrendered, and forever

discharged.

       25.     Settlement Class Members and the other Releasing Parties are hereby enjoined and

finally and forever barred from filing, commencing, maintaining, continuing, pursuing and/or

prosecuting the Released Claims in any action, arbitration or other proceeding, whether pending

or filed in the future, against Defendants and the other Released Parties. Subject to approval of

this MDL Court, Defendants and the other Released Parties may recover any and all reasonable

costs and expenses from a Settlement Class Member arising from that Settlement Class Member’s

violation of this injunction. Pursuant to 28 U.S.C. §§ 1651(a) and 2283, the MDL Court finds that

issuance of this permanent injunction is necessary and appropriate in aid of its continuing

jurisdiction and authority over the Settlement. Specifically not being released are:

               a. individual medical monitoring claims, as defined in the accompanying opinion;

               b. claims settled pursuant to the economic loss settlement;

               c. if the class member opted-out of the class action economic loss settlement,

                   claims for economic losses related to the Recalled Devices themselves; and,

               d. claims for personal injury.

       26.     The Philips Defendants and any successors to the Philips Defendants’ rights or

interests under the Settlement are hereby enjoined and finally and forever barred from challenging

or opposing, on the basis of this Settlement and the Releases provided therein, a Settlement Class

Member’s (a) Personal Injury Claims or ability to recover for those claims, or (b) individual claims

for payment of that individual’s medical monitoring expenses related to the individual’s use of a

Recalled Device, whether incurred in the past or the future, and regardless of how those claims

may be characterized (e.g., equitable, legal, etc.), or their ability to recover for those individual

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claims.

          27.   The finality of this Final Order and Judgment shall not be affected by any order

entered regarding the Settlement Class Counsel’s motion for an award of attorneys’ fees,

reimbursement of costs and expenses, and service awards, which shall be considered separate from

this Final Order and Judgment.

          28.   The MDL Court shall retain continuing and exclusive jurisdiction over the

Settlement Fund and the Medical Advancement Program set forth in the Settlement Agreement.

          29.   Without affecting the finality of this Final Order and Judgment, and solely for

purposes of this Settlement, the Philips Defendants and each Settlement Class Member hereby

irrevocably submit to the exclusive jurisdiction of the MDL Court for any suit, action,

proceeding, or dispute arising out of or relating to the Settlement Agreement and/or the

applicability, interpretation, administration, validity, or enforcement of the Settlement Agreement.

          30.   The Parties are hereby directed to implement and consummate the Settlement

according to the terms and provisions of the Settlement Agreement, which are hereby approved

and incorporated herein by reference.

          31.   Without further order of the MDL Court, the Parties may agree to reasonably

necessary extensions of time to carry out any of the non-monetary provisions of the Settlement

Agreement; provided, that notice of any extension must be filed with the MDL Court promptly

and, in any event, within 72 hours of the agreement to the extension.

          32.   This is the Final Order and Judgment as defined in the Settlement Agreement. In

the event that this Final Judgment is not otherwise final and appealable, pursuant to Federal Rule

of Civil Procedure 54(b), the MDL Court finds and directs that there is no just reason for delaying

enforcement or appeal, and judgment should be entered.



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IT IS SO ORDERED.                   BY THE COURT:



                                            s/Joy Flowers Conti
                                    The Honorable Joy Flowers Conti
                                    Senior United States District Court Judge




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